

Davis v New York City Tr. Auth. (2024 NY Slip Op 06652)





Davis v New York City Tr. Auth.


2024 NY Slip Op 06652


Decided on December 31, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 31, 2024

Before: Renwick, P.J., González, Rodriguez, Higgitt, Rosado, JJ. 


Index No. 6269/22 Appeal No. 3361 Case No. 2024-00142 

[*1]Kevin B. Davis, Appellant,
vNew York City Transit Authority, Respondent.


Kevin B. Davis, appellant pro se.
New York City Transit Authority, Brooklyn (Gabriella Palencia of counsel) for respondent.



Order, Supreme Court, Bronx County (Naita A. Semaj, J.), entered October 16, 2023, which granted defendant's motion to dismiss the complaint pursuant to CPLR 3211(a)(7), unanimously affirmed, without costs.
The court correctly granted defendant's motion to dismiss the complaint. Even drawing all inferences in favor of plaintiff (see Held v Kaufman , 91 NY2d 425, 432 [1998]), we do not find any cognizable cause of action in the complaint. For example, although this is an action for harassment and bias, plaintiff does not allege discrimination on the basis of race, gender, or any other category protected by the State or City Human Rights Law. Nor does plaintiff's response to the motion to dismiss remedy the defects in the complaint (see Leon v Martinez , 84 NY2d 83, 87—88 [1994]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 31, 2024








